1:17-cv-01389-JBM # 9   Page 1 of 25                                 E-FILED
                                       Tuesday, 29 August, 2017 03:09:35 PM
                                                Clerk, U.S. District Court, ILCD
1:17-cv-01389-JBM # 9   Page 2 of 25
1:17-cv-01389-JBM # 9   Page 3 of 25
1:17-cv-01389-JBM # 9   Page 4 of 25
1:17-cv-01389-JBM # 9   Page 5 of 25
1:17-cv-01389-JBM # 9   Page 6 of 25
1:17-cv-01389-JBM # 9   Page 7 of 25
1:17-cv-01389-JBM # 9   Page 8 of 25
1:17-cv-01389-JBM # 9   Page 9 of 25
1:17-cv-01389-JBM # 9   Page 10 of 25
1:17-cv-01389-JBM # 9   Page 11 of 25
1:17-cv-01389-JBM # 9   Page 12 of 25
1:17-cv-01389-JBM # 9   Page 13 of 25
1:17-cv-01389-JBM # 9   Page 14 of 25
1:17-cv-01389-JBM # 9   Page 15 of 25
1:17-cv-01389-JBM # 9   Page 16 of 25
1:17-cv-01389-JBM # 9   Page 17 of 25
1:17-cv-01389-JBM # 9   Page 18 of 25
1:17-cv-01389-JBM # 9   Page 19 of 25
1:17-cv-01389-JBM # 9   Page 20 of 25
1:17-cv-01389-JBM # 9   Page 21 of 25
1:17-cv-01389-JBM # 9   Page 22 of 25
1:17-cv-01389-JBM # 9   Page 23 of 25
1:17-cv-01389-JBM # 9   Page 24 of 25
1:17-cv-01389-JBM # 9   Page 25 of 25
